
252 P.3d 364 (2011)
242 Or. App. 176
Ernest Raymond MARTINEZ, Petitioner,
v.
BOARD OF PAROLE AND POST-PRISON SUPERVISION, Respondent.
A133672.
Court of Appeals of Oregon.
Submitted on Remand March 21, 2011.
Decided April 13, 2011.
Walter J. Ledesma for petitioner.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Denise G. Fjordbeck, Attorney-in-Charge, Civil/Administrative Appeals, for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Reversed and remanded. Janowski/Fleming v. Board of Parole, 349 Or. 432, 245 P.3d 1270 (2010).
